Case 2:02-cr-20183-.]DB Document 223 Filed 06/02/05 Page 1 ot 2 PagelD 242

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FOR THE WESTERN DISTRlCT OF TENNESSEE

 

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Plaintif"f,
vs.

cR. No. 02_20183-5

ERlc FiELos,

Defendant.

 

ORDER ON CONTlNUANCE AND SPEC|FYING PERIOD OF EXCLUDABLE DELA\’
AND SETT|NG

 

This cause came on for a report date on l\/lay 31 , 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to Ju|y 5, 2005 with a Mt
date of Thursdav. June 23, 2005. at 2:00j.m., in Courtroom 1l 11th Floor of the
Federal Bui|ding, i\/lemphis, TN.

The period from June 17, 2005 through July 15, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a s eedy trial.
lT lS SO ORDERED this § day f une, 2005.

.o NlEL BREEN \
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This notice confirms a copy of the document docketed as number 223 in
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Honorable J. Breen
US DISTRICT COURT

